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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



 CENTER FOR IMMIGRATION STUDIES,
 1629 K Street, NW, Suite 600,
 Washington, DC 20006

                                   Plaintiff,
            v.                                            Civil Action No. 24-137

 U.S. DEPARTMENT OF HEALTH AND
 HUMAN SERVICES,
 200 Independence Avenue SW
 Washington, DC 20201


                                   Defendant.


                                            COMPLAINT

       Plaintiff Center for Immigration Studies (“CIS” or “Plaintiff”) brings this action against

U.S. Department of Health and Human Services (“HHS” or “Defendant”) to compel compliance

with the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552. Plaintiff alleges the following

grounds:


                                  JURISDICTION AND VENUE

       1.        The Court has jurisdiction over this action pursuant to 5 U.S.C. § 552(a)(4)(B) and

28 U.S.C. § 1331.

       2.        Venue is proper in this district pursuant to 28 U.S.C. § 1391.

                                                PARTIES

       3.        Plaintiff CIS is a non-profit, research and educational foundation organized under

the laws of the District of Columbia and having its principal place of business at 1629 K Street,

NW, Suite 600, Washington, D.C. Plaintiff seeks to educate immigration policymakers, the
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academic community, news media, and concerned citizens with reliable information about the

social, economic, environmental, security, and fiscal consequences of legal and illegal immigration

into the United States. In furtherance of its public interest mission, Plaintiff regularly requests

access to the public records of federal agencies, entities, and offices, and disseminates its findings

to the public for free.

        4.      Defendant U.S. Department of Health and Human Services (“HHS”) is an agency

of the U.S. Government headquartered at 200 Independence Avenue, SW, Washington, DC 20201,

and is subject to FOIA. HHS has possession, custody, and control of records to which Plaintiff

seeks access.

                                      STATEMENT OF FACTS

        5.      On December 18, 2023, Plaintiff submitted a FOIA request via email to Defendant

for the following records (“First FOIA Request”):

                For each Notification of Concern1, from January 1, 2021
                through the date of the search, provide the following
                information if available:

                a. The A# (or last 5 digits if necessary to protect PII)
                b. Notification of concern category and/or category of abuse or
                   neglect
                c. Sponsor zip code
                d. Type of reporting party
                e. Date of report
                f. Summary of incident
                g. Case worker response and intervention
                Information helpful to fulfilling the request: The requester would like
                the responsive information provided in their respective columns in a
                searchable Excel spreadsheet if possible.




1
 See https://www.govinfo.gov/content/pkg/FR-2021-01-06/pdf/2020-29276.pdf; see also
https://omb.report/icr/202109-0970-014/doc/115141100.
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        (Exhibit 1.)


        6.       That same day Plaintiff submitted another FOIA request to Defendant via email for

the following records (“Second FOIA Request”):

                 The zip code for each sponsor associated with each
                 unaccompanied alien child that the agency could not reach after
                 its “safety and wellbeing call”,2 since January 1, 2021 through
                 the date of the search.

                 Information helpful to fulfilling the request: According to the
                 New York Times, “H.H.S. checks on all minors by calling them
                 a month after they begin living with their sponsors, data
                 obtained by The Times showed that over the last two years, the
                 agency could not reach more than 85,000 children. Overall, the
                 agency lost immediate contact with a third of migrant children.”
                 This request is interested in records sufficient to show the zip
                 codes for each sponsor associated with each child HHS could not
                 reach after its follow up calls to children who began living with
                 their sponsor, since January 1, 2021 through the date of the
                 search.

        (Exhibit 2.)

        7.       Within the First and Second FOIA Requests (collectively the “FOIA Requests”),

Plaintiff requested and justified the need for expedited processing. (Exhibit 1 & 2.)

        8.       On January 13, 2024, Plaintiff received emails from Defendant that acknowledged

receipt of the FOIA Requests (“Acknowledgment Letters”) which assigned the First and Second

FOIA Requests 24-F-0113 and 24-F-0112 respectively. (Exhibit 3 & 4.)




2
 https://oversight.house.gov/release/hearing-wrap-up-orr-director-fails-to-answer-questions-about-85000-lost-
unaccompanied-alien-children-flawed-vetting-of-sponsors-and-more%EF%BF%BC/ (Statement made by Robin
Dunn Marcos, Director of the Office of Refugee Resettlement, during Subcommittee on National Security, the
Border, and Foreign Affairs hearing titled “Oversight of the Office of Refugee Resettlement’s Unaccompanied Alien
Children Program.”
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       9.      However, Defendant’s Acknowledgment Letters failed to make any determination

regarding Plaintiff’s requests and justifications for expedited processing, and as of the date of this

Complaint, Defendant has still not made such determinations.

                                   COUNT I
            FAILURE TO MAKE DETERMINATION BY REQUIRED DEADLINE
                        (VIOLATION OF FOIA, 5 U.S.C. § 552)


       10.     Plaintiff realleges paragraphs 1 through 9 as if fully stated herein.

       11.     Defendant was required to make a determination with respect to Plaintiff’s requests

for expedited processing for its FOIA Requests no later than January 3, 2024

       12.     Defendant failed to make a final determination on Plaintiff’s expedited processing

requests within the time limits set by FOIA; therefore, Plaintiff is deemed to have exhausted its

administrative remedies. See 5 U.S.C. §552(a)(6)(E)(ii)(I); 5 U.S.C. §552(a)(6)(E)(iii); and 5

U.S.C. §552(a)(6)(E)(iv).

       13.     Defendant is in violation of FOIA.

                                         Requested Relief

               WHEREFORE, Plaintiff respectfully requests that the Court:

   a. Declare that Defendant’s current and continued delay in making determinations with

       respect to Plaintiff’s requests for expedited processing is unlawful under FOIA;

   b. Grant Plaintiff’s Requests for expedited processing;

   c. Order Defendant to process Plaintiff’s FOIA Requests on an expedited basis;

   d. Order Defendant to conduct searches for any and all records responsive to Plaintiff’s FOIA

       Requests and demonstrate that it employed search methods reasonably likely to lead to the

       discovery of records responsive to Plaintiff’s FOIA Requests;
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  e. Order Defendant to produce, by a date certain, any and all non-exempt records responsive

     to Plaintiff’s FOIA Requests and a Vaughn index of any responsive records withheld under

     any claimed exemption;

  f. Enjoin Defendant from continuing to withhold any and all non-exempt records responsive

     to Plaintiff’s FOIA Requests;

  g. Maintain jurisdiction over this action until Defendant complies with FOIA and all orders

     of this Court;

  h. Grant Plaintiff an award of attorneys’ fees and other litigation costs reasonably incurred in

     this action pursuant to 5 U.S.C. § 552(a)(4)(E); and

  i. Grant Plaintiff such other relief as the Court deems just and proper.



Dated:   January 16, 2024                      Respectfully submitted,

                                               /s/ Colin M. Farnsworth
                                               Colin M. Farnsworth
                                               DC Bar # OR0022
                                               Center for Immigration Studies
                                               1629 K Street, NW, Suite 600
                                               Washington DC, 20006
                                               Telephone: 202-466-8185 ext. 126
                                               FAX (202) 466-8076
                                               Email: cmf@cis.org
